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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE ,"i:_~a _». 4 50 ,}
Eastern Division " " "

 

UNITED STATES OF AMERICA

i", k\,'a`;_!"‘,"~l
-vs- Case No. 1:05¢1»106§3-0011"

JAMES CLARK

 

ORDER OF DETENT|ON PEND|NG TR|AL
F|ND|NGS
ln accordance with the Bail Reform Act, 18 U.S.C. § 3142(f`), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing rnay be filed at a later date.

D|RECT|ONS REGARD|NG DETENT|ON

.IAMES ChARK is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. JAMES CLARK shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge oftlie corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

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Daie; Augusi 30, 2005 r'-§). /ddeW-

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Thts document entered on the docket shoot in compliance
with F!ule 55 and!or 32(b) FRCrP on

  
 

ENNESSEE

 
 

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This notice confirms a copy of the document docketed as number 7 in
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.l. Colin Morris

MOSIER & l\/IORRIS7 P.A.
204 W. Baltimore

Jacl<son7 TN 38302--162

.l ames W. Powell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jacl<son7 TN 38301

Honorable .l ames Todd
US DISTRICT COURT

